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                       IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION

 EXXON MOBIL CORP.,                             §
                                                §
        Plaintiff                               §
                                                §
 v.                                             §           Civil Action No. 3:22-CV-0515-N
                                                §
 UNITED STATES OF AMERICA,                      §
                                                §
        Defendant.                              §

                    FINDINGS OF FACT AND CONCLUSIONS OF LAW

                                        I. INTRODUCTION

        When the Court began trial of this case, it was fully prepared to hold, as it had in a

 prior case, that Plaintiff Exxon Mobil Corp. (“ExxonMobil”) was creatively rewriting

 history for tax purposes. On consideration of the evidence, however, the Court determines

 that ExxonMobil’s tax treatment of this transaction is correct. Most obviously, this

 transaction is not structured as a run-of-the-mill mineral lease. Far from it. ExxonMobil’s

 tax treatment correctly reflects both the tax law and the economic substance of the

 transaction.

        As a general matter the Court found ExxonMobil’s witnesses – both lay and expert

 – to be credible and helpful. The Court found Defendant United States of America’s

 (“United States”) expert to be credible but not helpful. That is to say, the Court believes

 Dr. Wright truthfully testified as to her opinions and that she is well-qualified to offer those

 opinions. The problem is the subject matter of her opinions – she was asked to offer

 opinions regarding oil and gas accounting from a business perspective, rather than opining

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 on the correct tax treatment or the economic reality of the transaction. For that reason, the

 Court discounts her testimony.

          Based on the evidence at trial, the Court makes the following findings of fact and

 conclusions of law. Because the Court generally agrees with ExxonMobil’s position, these

 are largely – though not entirely – drawn from ExxonMobil’s proposed findings and

 conclusions.

                                      II. FINDINGS OF FACT

          1.    ExxonMobil, a New Jersey corporation with its global headquarters and

 principal place of business in Spring, Texas, is the common parent of an affiliated group

 of corporations, as defined in 26 U.S.C. § 1504. At the time the lawsuit was filed,

 ExxonMobil’s principal place of business was 5959 Las Colinas Boulevard in Irving,

 Texas.

                     A. The Creation of the Al Khaleej Gas Partnership

          2.    On May 2, 2000, ExxonMobil Middle East Gas Marketing Limited

 (“EMMEGML”), an ExxonMobil subsidiary, and the Government of the State of the Qatar

 entered into the Development and Production Sharing Agreement, or “DPSA.” The DPSA

 was executed by senior representatives of both parties: the Qatari Minister of Energy, and

 ExxonMobil’s head of upstream operations, Harry Longwell.

          3.    Under the DPSA, Qatar Petroleum (Qatar’s national oil company) was

 designated as the State of Qatar’s agent to represent the State of Qatar and act on its behalf.

 The DPSA has the force of Qatari law by virtue of a governmental decree signed on July

 12, 2000.

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        4.     The DPSA created the Enhanced Gas Utilization (“EGU”) project, which

 was renamed “Al Khaleej Gas” (“AKG”) in 2002. The purpose of the project was to

 develop and market valuable minerals in the North Field – the largest non-associated

 natural gas field in the world – for sales to purchasers, and to divide the profits and losses

 between the parties. As Mr. Longwell explained, the terms of the DPSA were principally

 negotiated between 1997 and 2000 between the State of Qatar and Mobil Oil Qatar Inc.,

 before the merger of Exxon and Mobil. The project was intended, in part, to help the State

 of Qatar meet growing domestic demand for energy.

        5.     Under the DPSA, both parties made capital contributions to the partnership.

 The State of Qatar contributed the rights to develop and market significant volumes of

 known minerals in three specified reservoirs in the North Field (called K1, K2, and K3).

 ExxonMobil contributed more than $1 billion in cash to construct the necessary offshore

 and onshore infrastructure, as well as the technical skills and expertise to develop these

 reservoirs. Both parties also contributed intellectual capital and resources to the partnership

 in connection with their joint management of the venture.

             B. The Partners’ Joint Management and Joint Business Activity

        6.     The DPSA created a governance structure through which ExxonMobil and

 the State of Qatar jointly managed Al Khaleej Gas.

        7.     In the DPSA, the parties created a Management Committee that oversaw and

 directed the project and approved key decisions. The Management Committee included an

 equal number of representatives from ExxonMobil and the State of Qatar. The members

 of the Management Committee included senior officials and executives from both parties,

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 including two witnesses who testified at trial: Emma Cochrane, a senior ExxonMobil

 executive in ExxonMobil Gas & Power Marketing who was based in Doha from 2002 to

 2005; and Mark Tressler, who served as the Al Khaleej Gas General Manager from 2005

 to 2009. The State of Qatar appointed the chairman of the Committee, and ExxonMobil

 appointed its secretary.

        8.     The Management Committee had broad authority: it directed and oversaw

 the strategy for, and management of, the business, including all petroleum operations. It

 was responsible for, among other things, considering, approving, and overseeing the

 implementation of budgets and development plans; establishing other joint committees and

 determining their mandates; reviewing sales agreements endorsed by the Joint Marketing

 Committee;     approving     financial   statements,   reports,     and   forecasts;   making

 recommendations upon review of audit reports; and discussing and making decisions with

 respect to other matters submitted to the Committee for consideration, such as engineering,

 procurement, and construction issues. While the DPSA assigned some responsibilities

 specifically to ExxonMobil (for example, conducting “Petroleum Operations”), those tasks

 were subject to the oversight and supervision of the Management Committee, with both

 parties acting on a joint basis.

        9.     The Management Committee made decisions through unanimous consensus

 of its members. In practice, all issues of significance with respect to the management and

 operation of the business were addressed by the parties on a joint and collaborative basis.

 The degree of collaboration between ExxonMobil and the State of Qatar distinguished Al

 Khaleej Gas from ExxonMobil projects in the State of Qatar and elsewhere that did not

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 involve joint management of the projects or joint marketing between ExxonMobil and the

 mineral interest owner. For example, Harry Longwell – a senior ExxonMobil executive

 who oversaw ExxonMobil’s upstream operations across 30 countries and worked at

 ExxonMobil for 40 years – testified that Al Khaleej Gas was “one of a kind” and “very

 unique” as a result of joint management, joint marketing, and other features of the business

 relationship, and that “in effect the Qataris and their operation and development of this

 resource [were] on equal footing with ExxonMobil.”

        10.    Before each Management Committee meeting, ExxonMobil and the State of

 Qatar’s representatives collaborated in setting the meeting agendas. Both parties were

 active participants in Management Committee meetings: they each presented topics, asked

 questions, and engaged in substantive discussions about operational and strategic issues

 affecting the business. Minutes from 51 different Management Committee Meetings from

 2000 through 2011 are in evidence, and they demonstrate the significant degree of joint

 activity between the parties, consistent with the contractual requirements.

        11.    The DPSA (and later the Amended and Restated Development and

 Production Sharing Agreement, or “ARDPSA”) required that the parties jointly market

 and sell all the gas produced by the business, and it mandated that neither party was

 “authorized to sell Petroleum of any kind except on a joint basis.” Under the DPSA, the

 parties established a Joint Marketing Committee, which oversaw marketing efforts, the

 negotiation and implementation of sales agreements, and the size of contracts. Like the

 Management Committee, the Joint Marketing Committee included an equal number of

 representatives from ExxonMobil and the State of Qatar, and its decisions had to be

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 unanimous. The process for setting the meeting agendas was similar to that of the

 Management Committee: typically, ExxonMobil and Qatari representatives would

 collaborate on topics for the meeting.      Minutes from 37 different Joint Marketing

 Committee meetings from 2000 through 2011 are in evidence, and like the Management

 Committee minutes, they too demonstrate the significant degree of joint activity between

 the parties, consistent with the contractual requirements.

        12.    Consistent with the Management Committee’s mandate under the DPSA and

 ARDPSA, the parties created other joint committees to help manage the business, including

 the Technical Committee and the Accounting Committee. The Technical Committee

 oversaw well functionality and design, reserve evaluations, and workplace safety, among

 other issues. The Accounting Committee was a forum for the partners’ finance specialists

 to meet and discuss issues related to accounting policies and procedures, the work

 programs and budgets, and other financial or audit matters delegated by the Management

 Committee. The Technical and Accounting Committees also had equal numbers of

 ExxonMobil and State of Qatar representatives and operated in a joint and collaborative

 fashion.

        13.    The partners’ joint activity with respect to the operation and management of

 the partnership extended well beyond the formal committees. In between meetings,

 representatives from ExxonMobil and the State of Qatar worked closely together to discuss

 operational and strategic issues.

        14.    Representatives from the State of Qatar also played a significant role in the

 day-to-day management of the business, and the parties functioned together as one team.

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 For example, the General Manager of Al Khaleej Gas was appointed by ExxonMobil,

 whereas the Deputy General Manager was a Qatari national nominated by the State of

 Qatar.

            C. The Development and Use of the Al Khaleej Gas Name and Logo

          15.   ExxonMobil and the State of Qatar held themselves out to the public as

 partners, including through the use of the Al Khaleej Gas name and logo.

          D. The Parties’ Joint Negotiation and Approval of Gas Sales Agreements

          16.   Pursuant to the DPSA, the partners negotiated and agreed on a set of

 marketing principles and procedures governing the marketing of sales gas produced by the

 partnership, which were later incorporated into the ARDPSA.

          17.   Consistent with these requirements, the partners worked together to negotiate

 sales agreements with prospective purchasers, both internationally and domestically.

          18.   With respect to the domestic market, the partners negotiated and ultimately

 approved through the Joint Marketing and Management Committees three purchase

 agreements for flowing gas for the first phase of the project. Each of those agreements was

 jointly approved by both parties, as required under the DPSA. Under each of these

 agreements, ExxonMobil and the State of Qatar were joint sellers selling on common terms.

          19.   In total, the demand commitments under these agreements for the first phase

 of the partnership resulted in the construction of facilities designed to produce

 approximately 750 million cubic feet per day of sales gas – a significant volume of gas that

 would help fuel domestic growth.



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                  E. The Expansion of the Al Khaleej Gas Partnership

        20.    From the beginning of their partnership, ExxonMobil and the State of Qatar

 envisioned that Al Khaleej Gas would be developed in phases, and they began to discuss

 the details of a second phase of the partnership as early as 2003. The ensuing negotiations

 took nearly three years.

        21.    In December 2004, the partners entered into a document called “Principles

 of Understanding,” which set forth a high-level framework for the second phase of Al

 Khaleej Gas, called “AKG-2.” As reflected in the Principles of Understanding, additional

 demand had been identified in the domestic market. To meet that demand, the partners

 contemplated that they would need to construct new facilities to produce an additional 1.2

 billion cubic feet of sales gas per day. On the same day that they executed the Principles

 of Understanding, the partners signed a letter agreement reinforcing their commitment to

 work together to secure export sales gas opportunities on a joint basis, including regional

 sales to potential buyers in Kuwait and Bahrain.

        22.    The first phase of Al Khaleej Gas was an economically challenging project

 for ExxonMobil. In addition, costs had escalated substantially since the creation of the

 partnership in 2000, and a potential second phase would require billions of dollars in new

 offshore and onshore facilities. ExxonMobil negotiated extensively with the State of Qatar

 to make the second phase of the project economically viable and to pursue the commercial

 objective of expanding production to meet Qatar’s growing demand for power.

        23.    One of the options ExxonMobil proposed in the course of those negotiations

 — among a host of others — was tax planning, including the possibility of a production

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 payment. A production payment is a well-established form of financing that has been used

 in the petroleum industry for decades.

        24.    ExxonMobil tax counsel Troy Babin, who negotiated the production

 payment with the State of Qatar, testified that the production payment was viewed as a

 “potential benefit” for a “very challenged project.”        Because of its congressionally

 mandated tax treatment as debt, interest deductions from the production payment could

 generate potential upside depending on, among other things, ExxonMobil’s available

 foreign tax credits and its U.S. versus foreign asset mix in a given year, assuming that the

 applicable rules and regulations remained consistent over the 20-plus year life of the

 project.

        25.    ExxonMobil first raised the concept of the production payment with the State

 of Qatar more than nine months before the ARDPSA was executed, and it was extensively

 vetted and negotiated in that period in parallel with many other commercial issues.

 ExxonMobil prepared and presented materials explaining the concept to the Qataris

 beginning in September 2005.

        26.    ExxonMobil and the State of Qatar exchanged numerous drafts of the

 ARDPSA in the months leading up to its execution, and the production payment was just

 one of many changes discussed and debated by the parties. The parties executed the

 ARDPSA on June 4, 2006. The ARDPSA retained all of the key governance features of

 the partnership described above including the Management Committee and the Joint

 Marketing Committee, which continued to function as set forth in the DPSA, but also

 restructured the partnership in “quite extensive” ways.

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         27.    The ARDPSA significantly expanded the volume of gas produced by the

  partnership. In the first phase of the partnership, the actual production capacity was 750

  million cubic feet of flowing gas per day. In the second phase of the partnership, the actual

  production capacity expanded by 1,250 million cubic feet per day, reaching a total of 2

  billion cubic feet per day — enough to generate electricity to power approximately 8

  million homes in the United States on an average day. To facilitate that expansion, the

  State of Qatar contributed additional mineral rights to the partnership, including rights to a

  new, comparatively liquids-rich reservoir (called K4) that could yield higher value gas

  products. ExxonMobil contributed the money to build new offshore wells, platforms, and

  pipelines, and new onshore facilities necessary to produce the agreed-upon volume of gas

  — all of which was expected to cost approximately $3.5 billion.

         28.    The parties also entered into new sales agreements in connection with the

  ARDPSA, including a fourth agreement for flowing gas sales (the Gas Supply Agreement,

  which was executed on the same day as the ARDPSA) and additional agreements for the

  sale of other gas products produced by the partnership. In the Gas Supply Agreement,

  Qatar Petroleum agreed to new “take-or-pay” commitments, which helped address

  uncertainty over whether the forecasted demand would materialize.

         29.    The ARDPSA included other changes as well. Among other things, the

  parties agreed to a new option for potential participation in the Subsequent Development

  Plan by an affiliate of the State of Qatar or Qatar Petroleum; revisions to the agreement to

  address facilities sharing with other gas projects; updates to the profit sharing arrangement

  to reflect the expansion of production to 2 billion cubic feet a day; a new accounting

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  procedure; a new expert procedure to resolve potential disagreements between the parties;

  new allocation procedures; and various updates to the form of the agreement, including to

  reflect the new Al Khaleej Gas name and the previously agreed-upon marketing principles

  and procedures.

         30.    The parties also incorporated the production payment into the ARDPSA.

  The production payment recapitalized the State of Qatar’s equity interest in the partnership.

  Rather than taking solely a profit share, as it did under the DPSA, the State of Qatar took

  a reduced profit share (called the “Residual Profit Share”) and a production payment. The

  production payment was carved out of all the mineral interests held by the Al Khaleej Gas

  partnership (i.e., the mineral rights that the State of Qatar originally contributed in the

  DPSA, plus the additional mineral rights contributed in the ARDPSA). Thus, the State of

  Qatar redeemed part of its equity interest in Al Khaleej Gas in exchange for debt (the

  production payment), and that debt burdened the mineral interests contributed to the

  partnership by the State of Qatar under both the DPSA and the ARDPSA.

         31.    The production payment worked as follows: the State of Qatar received

  quarterly payments of principal and interest on a fixed schedule ending in 2027, at a market

  rate of interest. Those details are set forth in Appendix G of the ARDPSA.

         32.    The ARDPSA provided that the scheduled quarterly production payments

  could be adjusted. The production payment amount that was actually paid to the State of

  Qatar in each quarter — referred to in the ARDPSA as the “Actual Quarterly Production

  Payment” — was calculated based on a methodology defined in the ARDPSA, using Excel

  spreadsheets referred to as “production payment models.”

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         33.    The production payments did not depend on, and were not part of, the profits

  of the partnership, making them a “fundamentally different economic interest” from the

  Residual Profit Share. Instead, the production payment was based solely on the value of

  natural gas produced from the reservoirs, irrespective of whether the partnership generated

  positive net income. As ExxonMobil’s expert economist, David Plastino, testified at trial,

  there were quarters in which the Al Khaleej Gas project as a whole was cash flow negative

  yet the production payment was still paid.

         34.    As reflected above, the production payment was limited in dollar amount —

  it had a defined principal amount of $10.78 billion — and the interest rate was 6.25%. The

  interest rate was a market rate. That rate was calculated based on the recent issuance of

  RasGas bonds with the same maturity into public markets, which were analogous in

  relevant respects (including credit risk, reservoir risk, and operational risk) for purposes of

  setting a market rate for the Al Khaleej Gas production payment.

         35.    At the time the ARDPSA was signed, the parties expected that there was a

  “very high likelihood” of the production payment being paid in full, and that the economic

  life of the minerals in the North Field that were subject to the parties’ agreement would

  exceed the term of the production payment. The production payments were in fact paid to

  the State of Qatar in accordance with the ARDPSA, as evidenced by detailed workpapers

  and models reflecting the computation of the production payment on a quarterly basis, and

  partnership records showing that Qatar received payments of principal and interest in

  accordance with the terms of Appendix G.



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         36.     In addition to the objective indicia of debt described above (a stated principal

  amount, a market rate of interest, a fixed maturity date, and a payment schedule), the

  production payment also had the economic characteristics of debt. Specifically, the

  production payment’s return profile, its likelihood of repayment, the capital adequacy of

  Al Khaleej Gas, and the marketability of the production payment all support characterizing

  the production payment as debt.

         37.     The production payment was also separately transferrable from the State of

  Qatar’s Residual Profit Share under Qatari law, which provided the State of Qatar with

  additional optionality to monetize its interests in the partnership. The right to separately

  transfer the production payment had economic value regardless of whether it was, in fact,

  transferred.

         38.     As part of the production payment in Appendix G of the ARDPSA, the

  parties also agreed that the State of Qatar could earn up to $40 million in additional

  payments that it was not entitled to receive under the DPSA. The $40 million amount was

  negotiated between ExxonMobil and the State of Qatar. Moreover, the potential $40

  million in upside to the State of Qatar was larger than other amounts that were expressly

  negotiated and included in the parties’ agreements.

         39.     Statements of Petroleum Cost reflect that Al Khaleej Gas made three such

  additional payments to the State of Qatar, as follows:

  •      A payment of $2,956,968 was made to the State of Qatar in the third quarter of 2006;

  •      A payment of $8,003,280 was made to the State of Qatar in the fourth quarter of

  2007; and

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  •       A payment of $29,039,752 was made to the State of Qatar in the second quarter of

  2008.

  These three payments total $40 million, and thus the State of Qatar has been paid that

  amount in full.

          40.    The $40 million amount, which was “potential upside” to the State of Qatar,

  came “out of [ExxonMobil’s] profit share” and thus represented “reduced profits” for

  ExxonMobil. In addition, ExxonMobil was required to de-book $40 million in reserves as

  a result of those payments.

                            F. ExxonMobil’s Tax Refund Claims

          41.    ExxonMobil timely filed a consolidated corporate income tax return for 2010

  and 2011 with the IRS Service Center in Ogden, Utah and its Employer Identification

  Number is 135409005. ExxonMobil paid the total tax reported on its 2010 and 2011 tax

  returns. ExxonMobil reported Al Khaleej Gas as a partnership on Forms 8865 beginning

  in 2006.      Before 2006, EMMEGML (the ExxonMobil entity that was party to the

  ARDPSA) was a controlled foreign corporation, and therefore earnings from the Al

  Khaleej Gas partnership were not included on ExxonMobil’s tax return.

          42.    In accordance with applicable law (see 26 U.S.C. § 636(a)), ExxonMobil

  reported the production payment made by Al Khaleej Gas to the State of Qatar as a

  mortgage loan, deducting from its income the interest portion of the production payment

  in its tax filings beginning in 2006. For tax years 2006, 2007, 2008, and 2009, the IRS did

  not challenge these deductions.



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        43.    On March 9, 2016, the IRS issued a Statutory Notice of Deficiency for Tax

  Years 2010 and 2011 that disregarded the Al Khaleej Gas partnership between ExxonMobil

  and the State of Qatar and disallowed the deduction from income that ExxonMobil had

  claimed for the interest portion of the production payment.

        44.    On April 15, 2016, ExxonMobil submitted Form 4089-B, Notice of

  Deficiency — Waiver, consenting to the immediate assessment and collection of the tax,

  and instructed the IRS to pay the tax by applying amounts on deposit with the IRS.

        45.    On May 16, 2016, the IRS assessed the tax for 2010 and 2011. On May 23,

  2016, the IRS assessed additional tax for the 2011 tax year. ExxonMobil paid the tax

  assessments and timely filed Amended U.S. Corporation Income Tax Returns for tax years

  2010 and 2011 seeking refunds of its tax payments.

        46.    On March 4, 2022, ExxonMobil timely filed this action (ECF 1). An

  amended complaint was filed on July 14, 2023 (ECF 45).

                                 II. CONCLUSIONS OF LAW

        1.     This Court has jurisdiction over the parties and the subject matter of this case.

                        A. ExxonMobil Carried Its Burden of Proof
                        Entitling It to the Tax Deductions in Dispute

        2.     ExxonMobil is entitled to the interest expense deductions it seeks because it

  established that the production payment was carved out of mineral property held by the

  partnership between ExxonMobil and the State of Qatar and therefore meets the statutory

  requirements of Section 636(a). First, Al Khaleej Gas is a partnership under federal tax

  law because ExxonMobil and the State of Qatar engaged in a joint business venture and


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  shared in the profits and losses of that venture. Because Al Khaleej Gas is a partnership,

  the partnership itself is deemed to hold the mineral property contributed by the State of

  Qatar. Rev. Rul. 54-84, 1954-1 C.B. 284.

         3.     Second, the production payment meets the requirements of the Treasury

  Regulations and Section 636(a): it is an economic interest that burdens the mineral property

  held by the partnership, it is limited by dollar amount and time, and it had an economic life

  that is shorter than that of the partnership’s mineral property. As a result, the production

  payment “shall” be treated “as if it were” a mortgage loan for tax purposes. Those proven

  facts entitle ExxonMobil to deduct interest expense.

                A. Al Khaleej Gas Is a Partnership Under Federal Tax Law

         4.     The tax partnership test is well settled, and it is met here. Under federal law,

  a partnership exists for tax purposes where two or more parties “intend[] to join together

  for the purpose of carrying on the business and sharing in the profits and losses or both.”

  Comm’r v. Culbertson, 337 U.S. 733, 741 (1949) (paraphrasing Comm’r v. Tower, 327

  U.S. 280, 287 (1946), which says “profits or losses” and omits second “the”). That

  assessment is made “considering all the facts” that are relevant in a particular case, which

  may include “the agreement, the conduct of the parties in execution of its provisions, their

  statements, the testimony of disinterested persons, the relationship of the parties, their

  respective abilities and capital contributions, the actual control of income and the purposes

  for which it is used, and any other facts throwing light on [the parties’] true intent.” Id. at

  742.



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         5.     Both the Tax Code and the Treasury Regulations similarly require a showing

  of a joint business undertaking and the sharing of profits therefrom. See 26 U.S.C. § 761(a)

  (“[T]he term ‘partnership’ includes a syndicate, group, pool, joint venture, or other

  unincorporated organization through or by means of which any business, financial

  operation, or venture is carried on, and which is not, within the meaning of this title, a

  corporation or a trust or estate.”); Treas. Reg. § 301.7701-1(a)(2) (“A joint venture or other

  contractual arrangement may create a separate entity for federal tax purposes if the

  participants carry on a trade, business, financial operation, or venture and divide the profits

  therefrom.”). These elements are present here.

         6.     Because Al Khaleej Gas is a partnership under federal tax law, the State of

  Qatar does not hold the mineral property, as is the case in a mineral lease. Rather, the

  partnership is deemed to hold the mineral property as a matter of law. The State of Qatar

  then held a partnership interest in Al Khaleej Gas, but it no longer owned the minerals that

  it is deemed to have contributed to the partnership.

              B. Al Khaleej Gas Is a Joint Business Venture Characterized by
              Significant Joint Activity by ExxonMobil and the State of Qatar

         7.     The Supreme Court has made clear that “a circumstance of prime

  importance” in determining whether the partnership test has been met is whether there is

  “participation in management and control of the business.” Culberson, 377 U.S. at 747

  n.17. First, ExxonMobil and the State of Qatar intended to — and did — “join together

  for the purpose of carrying on the business.” Id. at 741 (quoting Tower, 327 U.S. at 287).

  Through Al Khaleej Gas, ExxonMobil and the State of Qatar jointly developed, marketed,


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  and sold mineral resources in the North Field, and both partners had a significant role in

  jointly managing the business.

        8.     As discussed above, ExxonMobil and the State of Qatar created the

  Management Committee, which directed and oversaw the strategy for, and management

  of, the business (including petroleum operations); and the Joint Marketing Committee,

  which oversaw the negotiation and implementation of all sales contracts, as required by

  both the DPSA and ARDPSA. As detailed above, both committees included an equal

  number of representatives from ExxonMobil and the State of Qatar, and both committees

  met on a regular basis. The parties also created other committees — again with equal

  representation from both partners — to manage the business on a joint basis, including the

  Accounting Committee and the Technical Committee. In addition, the agreed-upon

  marketing principles and procedures, which were incorporated as Appendix C of the

  ARDPSA, required the partners to negotiate and approve sales agreements on a joint basis,

  including through a review process that involved both the Joint Marketing Committee and

  the Management Committee.

        9.     The evidence demonstrates that the “conduct of the parties in execution of

  [the contractual] provisions” was consistent with a tax partnership. Culbertson, 337 U.S.

  at 742. As required by the DPSA and ARDPSA, the Management Committee and the Joint

  Marketing Committee met regularly, discharged their contractual functions, and made

  decisions unanimously. Moreover, both ExxonMobil and the State of Qatar played a

  significant role in the operation and function of those committees and in the management

  of the business more generally.

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         10.     Additionally, as provided in the agreements, ExxonMobil and the State of

  Qatar jointly negotiated with prospective purchasers and jointly approved Al Khaleej Gas’s

  sales agreements. The inclusion of joint marketing in the DPSA and ARDPSA underscores

  the parties’ focus on joint business activity.

         11.     On the whole, the degree of collaboration between ExxonMobil and the State

  of Qatar at all levels was significant, and it establishes that the parties jointly managed the

  business. Indeed, the degree of joint activity here is more substantial than other cases in

  which courts have respected the existence of a partnership for tax purposes. See Landreth

  v. United States, 70 F. Supp. 991, 994 (N.D. Tex. 1946), aff’d, 164 F.2d 340, 341 (5th Cir.

  1947); Methvin v. Comm’r, 109 T.C.M. (CCH) 1409 (T.C. 2015), aff’d, 653 F. App’x 616,

  617 (10th Cir. 2016); Perry v. Comm’r, 67 T.C.M. (CCH) 2966, at *1 (T.C. 1994).

         12.     Each partner also made significant capital contributions to the partnership.

  ExxonMobil provided billions of dollars in cash to construct offshore platforms, pipelines,

  and wells, as well as onshore facilities, and the State of Qatar contributed rights to a

  significant volume of known minerals. The State of Qatar’s contributions of mineral rights

  are treated as capital contributions to the Al Khaleej Gas partnership under federal tax law.

  See, e.g., Landreth, 70 F. Supp. at 992-93, 995 (treating the right to process natural gas as

  one partner’s capital contribution to a partnership).

         13.     In addition, both partners also contributed unique skills and abilities to the

  partnership.   ExxonMobil contributed its technical expertise and experience in the

  development and production of natural gas, and the State of Qatar contributed insight into

  domestic and regional markets and other intellectual capital associated with managing the

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  partnership. See Culbertson, 337 U.S. at 742 (identifying as relevant factors the parties’

  “respective abilities and capital contributions”).

         14.     Moreover, the partners held themselves out as a joint business to the public,

  and their statements are similarly consistent with the existence of a partnership for tax

  purposes.     See id. (identifying as relevant factors the parties’ “conduct” and “their

  statements”). As described above, the partners developed and used a distinct trade name

  and logo, which were designed for the specific purpose of increasing the business’s

  regional visibility. The use of a trade name strongly suggests a joint enterprise. The

  partners held large, public-facing events like the 2010 inauguration ceremony, where they

  recognized and celebrated their joint business activity — and even used the slogan

  “Partners in Providing Gas to the Nation” to describe their commercial objective — which

  further illustrates that the parties “really intended to carry on business as partners.” Id. at

  743.

         15.     The existence and use of a separate Al Khaleej Gas bank account held by the

  project’s operator, RasGas, further shows the partners’ intent to conduct a joint business

  activity. The fact that payments from purchasers were made into that joint bank account

  (rather than paid separately and directly to the State of Qatar and ExxonMobil) is indicative

  of joint business activity and consistent with the existence of a tax partnership under federal

  law.

              B. The Partners Shared in the Profits and Losses of Al Khaleej Gas

         16.     ExxonMobil and the State of Qatar both shared in Al Khaleej Gas’s profits.

  Under the ARDPSA’s revenue-sharing provisions, ExxonMobil received its share of the

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  profits through “Cost Recovery Petroleum” and “Profit Petroleum,” and the State of Qatar

  received its share of the profits through the Residual Profit Share (its equity interest in the

  partnership).    The partnership was, in fact, profitable, with both partners receiving

  meaningful shares of the revenues and profits of the project. This division of profits,

  together with the joint business activity described above, establishes that Al Khaleej Gas

  is a partnership for tax purposes. See Treas. Reg. § 301.7701-1(a)(2); Culbertson, 337 U.S.

  at 741.

            17.   The sharing of losses is not required to establish a partnership under federal

  tax law. The governing Treasury Regulations specify that the parties need only “divide the

  profits” of the venture to qualify for partnership treatment. Treas. Reg. § 301.7701-1(a)(2)

  (emphasis added). Similarly, the Supreme Court has established that a partnership may

  exist where the parties “shar[e] in the profits and losses or both.” Culbertson, 337 U.S. at

  741 (paraphrasing Tower, 327 U.S. at 287). Nevertheless, even if the sharing of losses

  were deemed to be relevant, ExxonMobil and the State of Qatar agreed to — and did —

  share in the risk of loss and the costs and expenses of the Al Khaleej Gas partnership, both

  at its formation in 2000 and throughout its operation.

            18.   ExxonMobil incurred a risk of loss because, among other things, it invested

  billions of dollars in constructing Al Khaleej Gas infrastructure, and those investments

  were at risk if the project was unsuccessful. ExxonMobil and the State of Qatar also shared

  in a host of other risks associated with the project, including: reservoir or resource risk;

  performance risk; facilities risk; market risk; price risk; operational risk; and political risk.



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         19.    In addition, ExxonMobil and the State of Qatar also shared in potential

  liability to third-party buyers under the sale and purchase agreements discussed above.

  One of those agreements, the Oryx Sale and Purchase Agreement, expressly provided for

  joint and several liability; other agreements provided for several liability; and others were

  silent on the apportionment of liability. Regardless of how liability was specifically

  apportioned, ExxonMobil and the State of Qatar were both exposed to potential losses

  under those agreements in each instance.

         20.    Both parties also shared in the costs and expenses of the business:

  ExxonMobil incurred costs directly (by paying those costs), and Qatar incurred costs

  indirectly (through a reduced profit share). Indeed, an agreement to share in the costs is a

  key feature of the ARDPSA because the State of Qatar receives profits from production

  only after ExxonMobil recovers its costs. Under the ARDPSA, ExxonMobil is responsible

  for paying costs associated with Al Khaleej Gas’s operations in the first instance, including

  capital and operating expenses. The Residual Profit Share is paid to the State of Qatar only

  after ExxonMobil is reimbursed for those costs, which are recoverable up to a 40% cap for

  each quarter. Any costs in excess of that cap are carried over and recovered by ExxonMobil

  in subsequent quarters. Thus, all else being equal, the State of Qatar’s profit share is higher

  when the business’s costs and expenses are lower. That is substantively the same as if the

  State of Qatar had paid its share of the costs out of pocket in the first instance.

         21.    Finally, the evidence also establishes that ExxonMobil and the State of Qatar

  each shared in the upside and downside of the Al Khaleej Gas project. For example,

  economic modeling established that there was a very high correlation between the

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  economic outcomes for ExxonMobil’s interest and the State of Qatar’s interest (through its

  Residual Profit Share) and the Al Khaleej Gas project’s outcomes. Thus, to the extent that

  the Al Khaleej Gas project underperformed, the State of Qatar would bear a portion of that

  downside risk in the form of a lessened Residual Profit Share.

         22.      As a result, it is clear that ExxonMobil and the State of Qatar shared in the

  economics of Al Khaleej Gas, consistent with a partnership under federal tax law. The

  State of Qatar agreed to share in the losses (or potential losses), as well as the profits, of

  the business.

         23.      For these reasons, Al Khaleej Gas is a partnership under federal tax law: the

  parties engaged in joint business activity and divided the profits (and, to the extent relevant

  under applicable law, the losses) therefrom. As explained above, each of the specific

  factors that the Supreme Court identified in Culbertson as potentially relevant to

  determining whether a partnership exists counsels in favor of concluding that Al Khaleej

  Gas is a partnership for tax purposes: the agreement; the conduct of the parties; the parties’

  statements; the relationship of the parties; the parties’ respective abilities and capital

  contributions; and the actual control of income and the purposes for which it was used.

         24.      The evidence therefore shows that the parties “in good faith and acting with

  a business purpose intended to join together in the present conduct of the enterprise” and

  formed a partnership under federal tax law. Culbertson, 337 U.S. at 742.

         25.      The fact that there was no juridical entity for Al Khaleej Gas is irrelevant to

  this analysis. It is blackletter law that a “contractual arrangement” alone can give rise to a

  partnership for tax purposes, and whether a partnership exists “does not depend on whether

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  the organization is recognized as an entity under local law.” Treas. Reg. § 301.7701-

  1(a)(1)-(2); see also Haley v. Comm’s, 203 F.2d 815, 818 (5th Cir. 1953) (same). Courts

  routinely find tax partnerships where, as here, there is no separate juridical entity. See,

  e.g., Estate of Hirsch v. Comm’r, 46 T.C.M. (CCH) 559 (T.C. 1983) (applying Fifth Circuit

  law and holding that an account agreement for trading in cotton futures on an exchange

  created a tax partnership); Bentex Oil Corp. V. Comm’r, 20 T.C. 565, 567, 571 (T.C. 1953)

  (oral agreement regarding the exploration and operation of oil and gas properties created a

  tax partnership); Landreth, 164 F.2d at 341 (affirming tax partnership arising out of

  contractual relationship).

          C. Defendant’s Arguments Against Partnership Treatment Lack Merit

         26.    The ARDPSA satisfies the partnership test and, under controlling law, that

  is the end of the inquiry. Ignoring that controlling authority, Defendant argues that the

  ARDPSA is a mineral lease. But a business relationship that meets the partnership test (as

  here) cannot also be a mineral lease because a mineral lease does not involve the joint

  business activity that characterizes a partnership. For example, in Grandview Mines v.

  Commissioner, 282 F.2d 700, 703-04 (9th Cir. 1960), the court expressly applied

  Culbertson in evaluating whether a business relationship was a partnership or a mineral

  lease. In that case, the parties’ contractual agreement was a mineral lease because there

  was no joint business activity. In contrast, the evidence here shows that there is significant

  joint business activity and Al Khaleej Gas is therefore a partnership. That means it cannot

  also be a mineral lease; the two are mutually exclusive.



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         27.    Defendant focuses on a single provision governing revenue sharing (Article

  19) and erroneously contends that it resembles a royalty in a mineral lease. But there is no

  authority for classifying a petroleum investment contract based solely on a single provision

  of the agreement, and for good reason: fiscal terms akin to a royalty could be found in any

  type of upstream business arrangement, including a joint venture. That says nothing about

  the nature of the agreement, which for the reasons described above is a partnership.

         28.    Defendant’s other reasons for opposing partnership treatment are similarly

  incorrect:

         •      Defendant relies on an email in which Mark Tressler questioned the use of

  the term “partners” in a letter requesting a tour of processing facilities. The evidence shows

  that Mr. Tressler himself testified extensively about the joint business activity between the

  parties (the relevant inquiry here).     Moreover, the initial draft of this same letter

  demonstrates that both the AKG Gas Sales Manager and the Qatari Deputy General

  Manager (who approved the draft letter) believed that ExxonMobil and the State of Qatar

  were acting as “partners.”

         •      Defendant questioned witnesses about a single bullet in a slide deck about a

  separate gas project, Barzan, that referenced “[a]voiding [an] implied ‘Partnership.’” That

  document post-dated the DPSA by seven years and the ARDPSA by more than a year. The

  portion of that document on which Defendant relies referenced the possibility of an implied

  partnership with Qatar Petroleum (which is not a party to the DPSA or the ARDPSA) that

  could result from Qatar Petroleum’s acquisition of a participation interest in the second



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  phase of Al Khaleej Gas; it has nothing to do with the State of Qatar’s status as a partner

  in Al Khaleej Gas.

         •       Defendant implied during questioning that the negotiation of the ARDPSA

  itself, with each party modeling its own economics and adopting its own positions in the

  negotiations, “[d]oesn’t sound like partners.” But it is irrelevant that an agreement between

  the partners was negotiated at arm’s length — as is the case with virtually all partnership

  agreements.

         •       Defendant relies on labels — for example, the fact that the DPSA and the

  ARDPSA are not called “partnership agreements.” But there is no authority to support the

  argument that the document must be labeled a certain way to satisfy the Supreme Court’s

  test and its focus on joint activity.

         Accordingly, ExxonMobil has met its burden of providing that Al Khaleej

  Gas is a partnership under federal tax law.

             D. The Al Khaleej Gas Production Payment Satisfies Section 636(a)

         29.     As explained above, Al Khaleej Gas is a partnership under federal tax law,

  and by operation of law it is deemed to hold the mineral property. When Al Khaleej Gas

  carved out the production payment from its mineral properties, it satisfied the requirements

  under Section 636(a) for treatment as a mortgage loan. The evidence shows that the

  production payment meets the three requirements to qualify as a production payment under

  the Treasury Regulations. A production payment is: (i) an economic interest that burdens

  mineral property; (ii) that may be limited by dollar amount, volume, or period of time; and

  (iii) expected, at the time of its creation, to have an economic life that is shorter than the

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  life of the minerals that it burdens. Treas. Reg. § 1.636-3(a)(1). The production payment

  in this case meets all of these requirements. A production payment that is “carved out” of

  mineral property, as here, is treated “as if it were a mortgage loan.” 26 U.S.C. § 636(a).

         30.    First, the production payment is an economic interest that burdens the

  partnership’s mineral property because it is “satisfied solely by income from minerals.”

  Exxon Mobil Corp. v. United States, 43 F.4th 424, 429, 432 (5th Cir. 2022). This is clear

  from the ARDPSA, which provides that Qatar “shall look solely to the Petroleum derived

  from the Gas in the AKG Contract Reservoirs within the AKG Contract Location to . . .

  discharge the production payment.” Defendant has conceded this point.

         31.    Second, the production payment is limited by both dollar amount and time.

  This is also clear from the ARDPSA, which provides a defined principal amount of $10.78

  billion and an agreed-upon schedule of quarterly principal and interest payments that ends

  in 2027, three years before the earliest possible termination of the mineral rights granted

  by the State of Qatar.

         32.    Third, the production payment satisfies the economic life requirement. The

  production payment is shorter than the term of the mineral rights that the State of Qatar

  contributed to the partnership and from which the production payment was carved out.

  Defendant’s expert conceded that point as well. Uncontroverted evidence (including

  contemporaneous reservoir modeling) also showed that the minerals were expected to have

  a useful life well beyond 2027, when the production payment ends.

         33.    For these reasons, the Al Khaleej Gas production payment satisfies the

  Treasury Regulations. Because Al Khaleej Gas is a partnership (as described above), the

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  partnership holds the mineral property contributed by the State of Qatar. Therefore, the

  production payment was “carved out of mineral property” held by the partnership, 26

  U.S.C. § 636(a), and it meets the requirements of Section 636(a). That entitles ExxonMobil

  to deduct interest expense.

         34.     Defendant argues that the production payment should be disregarded and

  collapsed with Qatar’s equity interest in the partnership, Qatar’s Residual Profit Share, into

  a single “royalty” for purposes of applying the Treasury Regulations. According to

  Defendant, that single, collapsed interest is not limited in time or duration. But no authority

  supports that approach. To the contrary, the law is clear that the tax treatment of two

  interests is to be determined separately where, as here, the two interests are separately

  transferrable and there are other indicia of debt, such as a fixed principal, maturity date,

  and interest rate.

         35.     For example, in John Kelley Co. v. Comm’r, 326 U.S. 521, 526 (1946), a

  corporation was reorganized through the issuance of debenture bonds to shareholders,

  which recapitalized some equity with debt. Even though the shareholders were entitled to

  the same dollar amount as a result of the bond issuance, the Supreme Court respected the

  bonds as debt because the shareholders could separately sell them, and they had a fixed

  maturity date and priority over the common stock. See id. The Fifth Circuit similarly

  respects the existence of separate debt interests when held by shareholders. See, e.g.,

  Harlan v. United States, 409 F.2d 904, 909-10 (5th Cir. 1969) (respecting a note that was

  issued by a shareholder concurrently with capital as a separate debt instrument where there

  were no restrictions on transferability); Tomlinson v. 1661 Corp., 377 F.2d 291, 297 (5th

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  Cir. 1967) (respecting debt advances by shareholders in proportion to their equity interests

  where the debt was freely transferrable). The IRS has adopted the same standard as well:

  a debt instrument that is issued together with other property rights is treated as a separate

  item for tax purposes if the two interests are separately transferrable and the holder is not

  economically compelled to keep them together. That includes instances where, as here,

  the two interests are contained in the same agreement.

         36.    Here, the evidence showed that the State of Qatar could separately “sell,

  transfer, or assign the rights to the Production Payment” under Qatar law. Thus, the

  production payment is a separate, enforceable right. Moreover, the production payment

  bears the objective indicia of debt, including a stated principal amount, a market rate of

  interest, and a fixed maturity date, in addition to the economic characteristics of debt.

  Consequently, Defendant’s attempt to collapse these interests fails under governing law,

  and it therefore has no basis to dispute that the production payment satisfies this prong of

  the Treasury Regulations.1

                 E. The Court Cannot Disregard the Production Payment
                Interest Expense Deductions by Applying Judicial Doctrines

         37.    Defendant relies on two judicial doctrines — the substance over form

  doctrine and the economic substance doctrine — to argue that the Court should disregard

  the production payment interest expense deductions.          Both doctrines have specific

  requirements that must be satisfied to disregard a transaction or to treat it as something



  1
    In view of this determination, the Court does not reach ExxonMobil’s alternate argument
  that the production payment meets the common law definition of debt.
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  different from what it purports to be. Neither is a “smell test” that authorizes the

  government or the courts to disregard the plain meaning of a statute that specifies the

  applicable tax treatment. Benenson v. Comm’r, 887 F.3d 511, 523 (1st Cir. 2018).

         38.    The substance over form doctrine reflects the premise that a transaction is

  taxed in accordance with its substance rather than its form. See, e.g., Estate of Streightoff

  v. Comm’r, 954 F.3d 713, 719 (5th Cir. 2020). The economic substance doctrine, on the

  other hand, is invoked (where it applies) to disregard transactions that are “lacking in

  economic reality” or that “do not vary control or change the flow of economic benefits.”

  Salty Brine I, Ltd. v. United States, 761 F.3d 484, 494 (5th Cir. 2014). It has two prongs

  in the Fifth Circuit. Under the objective prong, courts look to “whether the transaction

  either caused real dollars to meaningfully change hands or created a realistic possibility

  that they would do so.” Tucker v. Comm’r, 766 F. App’x 132, 140 (5th Cir. 2019). Under

  the subjective prong, courts look to “whether the transaction was motivated solely by tax-

  avoidance considerations or was imbued with some genuine business purpose.” Salty Brine

  I, 761 F.3d at 494. Both doctrines recognize and respect that parties may choose to finance

  transactions in tax efficient ways.

         39.    Neither doctrine can be invoked to disallow the interest expense deductions

  at issue here for four principal reasons. First, both doctrines are inapplicable because

  judicial doctrines cannot override the congressionally mandated tax treatment of the

  production payment in Section 636(a), which specifies that the production payment “shall”

  be treated “as if it were” a mortgage loan. Second, the economic substance doctrine is

  inapplicable for the additional reasons that it does not apply to decisions to capitalize a

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  venture with debt rather than equity and because the production payments are indisputably

  real payments that cannot be disregarded. Finally, even if the economic substance doctrine

  were to apply, it is satisfied here.

         40.     Neither the economic substance doctrine nor the substance over form

  doctrine should be applied to override the plain language of Section 636(a). As an initial

  matter, courts follow the plain language of a statute even when the IRS does not like the

  result. Judicial doctrines do not allow courts to disregard a transaction that complies with

  the Tax Code in favor of the IRS’s characterization of a transaction’s substance.

         41.     Here, the plain meaning of Section 636(a) is clear and unmistakable: it

  provides that a carved-out production payment “shall” be treated as debt for tax purposes.

  26 U.S.C. § 636(a). The word “shall” is unambiguous. Because the production payment

  satisfies the requirements that Congress and the Treasury Department have promulgated

  for a carved-out production payment, neither the substance over form nor economic

  substance doctrine should be applied to deny ExxonMobil’s interest expense deductions.

         42.     The economic substance doctrine applies only to disregard a transaction that

  lacks economic reality. Salty Brine I, Ltd., 761 F.3d at 494. As a threshold matter, the

  second phase of Al Khaleej Gas — with billions of dollars committed, significant

  infrastructure, and meaningful changes to the project — was indisputably a bona fide

  commercial transaction with genuine economic substance. Likewise, the production

  payments were indisputably real payments to the State of Qatar that formed an integral part

  of that transaction. Defendant cannot contend otherwise. As a result, the economic

  substance doctrine does not apply.

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         43.    Compounding the inapplicability of the doctrine, there is a longstanding

  exception to application of the economic substance doctrine: it does not apply to the

  decision whether to finance a venture with debt rather than equity. Such decisions are

  respected by courts even where they are based largely or entirely on tax consequences.

  Because there need not be any tax independent purpose for choosing to finance with debt

  rather than equity, the economic substance doctrine — which otherwise requires that a

  transaction be “imbued with tax independent considerations,” Tucker, 766 F. App’x at 139

  — does not apply.

         44.    This exception to the economic substance doctrine has deep roots. Nearly

  80 years ago, in John Kelley Co. v. Commissioner, the Supreme Court made clear that the

  “business purpose” test from Gregory v. Helvering, 293 U.S. 465 (1935), the seminal case

  on the economic substance doctrine, was inapplicable to a taxpayer’s decision to

  recapitalize a business with debt. In determining whether the instruments at issue were

  debt for tax purposes, the Court expressly distinguished Gregory, and it did not consider

  whether the transactions had a tax-independent business purpose, as the economic

  substance doctrine would otherwise require. Rather, the Supreme Court analyzed only

  whether the transactions bore “indicia of indebtedness” — which included, as here, a fixed

  interest rate and maturity date. John Kelley Co., 326 U.S. at 526. When Congress codified

  the economic substance doctrine in 2010, the legislative history recognized that the judicial




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  doctrine did not apply to “the choice between capitalizing a business enterprise with debt

  or equity,” citing John Kelley Co.2

         45.    Since John Kelley Co., courts regularly respect taxpayers’ decisions to

  finance with debt rather than equity, and without regard to tax motivations. For example,

  in Nassau Lens Co. v. Comm’r, 308 F.2d 39, 44 n.6 (2d Cir. 1962), the court rejected the

  application of a “business purpose” test in analyzing a taxpayer’s decision to capitalize its

  business with a combination of debt and equity, and it respected the taxpayer’s allocation

  of capital even though there was “no business purpose behind the allocation.” In that case,

  the taxpayer transferred assets to a corporation in exchange for stock and debenture notes.

  The corporation claimed interest equivalent deductions on the debentures, which the IRS

  disallowed. Id. at 42. The Second Circuit reversed the Tax Court’s holding that the

  deductions were unlawful, reasoning that the Tax Court applied an “erroneous legal

  standard when it placed such emphasis on [the taxpayer’s] lack of a business purpose.” Id.

  at 46. The Second Circuit held that the loans were “to be recognized or disregarded for tax

  purposes according to the extent to which they comply with arm’s-length standards, not

  the extent to which the taxpayer has a business purpose.” Id. This is because there is “no

  rule which permits the Commissioner to dictate what portion of a corporation’s operations

  shall be provided for by equity financing rather than by debt.” Id.



  2
    See S. REP. NO. 110-206, at 92-93 (2007); H.R. REP. NO. 111-299, pt. 2, at 291 (2009);
  H.R. REP. NO. 111-443, at 296 (2010); Staff of the Joint Committee on Tax’n, 111th Cong.,
  Technical Explanation of the Revenue Provisions of the “Reconciliation Act of 2010,” as
  Amended, in Combination with the “Patient Protection and Affordable Care Act,” at 152
  (JCX-18-10) (Comm. Print 2010).
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         46.    The Fifth Circuit, too, has recognized that there is “no authority for the

  proposition that the stockholders of a corporation may not determine just how much of

  their funds they care to risk in the form of capital and how much, if any, they are willing

  to lend as a credit,” even where the choice to capitalize with debt “leaves them in a position

  to enjoy more favorable deduction privileges than if they had put it all in as capital.” Rowan

  v. United States, 219 F.2d 51, 54 (5th Cir. 1955); see also Little v. United States, 191 F.

  Supp. 12, 17-18 (E.D. Tex. 1960) (same); NA Gen. P’ship & Subsidiaries v. Comm’r, 103

  T.C.M. (CCH) 1916 (T.C. 2012) (respecting a decision to recapitalize an entity because

  proposed changes to the tax regulations would significantly increase the tax cost of the

  existing structure).

         47.    The economic substance doctrine does not apply to decisions between debt

  and equity financing because those decisions are almost always influenced by tax

  considerations, as “[t]here may be no tax-independent reason for a taxpayer to choose

  between these different ways of financing a business.” United Parcel Serv. of Am., Inc. v.

  Comm’r, 254 F.3d 1014, 1019 (11th Cir. 2001). This is why a court would never disregard

  a mortgage loan on the ground that the homeowner chose to finance the purchase with debt

  (rather than paying upfront in cash) for the sole purpose of benefiting from the mortgage

  interest deduction. The same holds true for capitalizing (or recapitalizing) a business. As

  Defendant’s own expert admitted at trial, there is “nothing wrong” with “considering the

  tax impact in choosing whether to finance with debt or equity.” To apply the economic

  substance doctrine in that context — and to disregard the capitalization of an entity on the

  ground that the choice of debt financing was motivated by the deductibility of interest

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  expense — would effectively “prohibit tax-planning,” a legitimate and well-established

  aspect of complex commercial transactions. Id. at 1019.

         48.    The economic substance doctrine does not apply to the production payment

  for these reasons. The evidence shows that the ARDPSA was a complex commercial

  transaction that was negotiated for years and that “compl[ied] with arm’s-length

  standards.” Nassau Lens, 308 F.2d at 46. Indeed, multiple witnesses described in detail

  the “very extensive discussions for an extended period of time between [Qatar] and

  ExxonMobil” with respect to the second phase of the partnership, which is also evidenced

  by voluminous records of emails, presentations, term sheets, and drafts exchanged between

  the parties over multiple years. One component of that transaction was the parties’

  agreement to recapitalize the partnership with a combination of debt (i.e., the production

  payment) and equity. The production payment, in particular, was the subject of extensive

  negotiations that spanned at least nine months. And as explained above, the production

  payment is, in substance, debt. As a result, the economic substance doctrine does not apply:

  the decision to include the production payment was a choice between capitalizing with debt

  and equity, and in that context the doctrine is inapplicable.

         49.    To determine whether an interest is “in substance, debt or equity,” the Fifth

  Circuit applies the thirteen-factor test set forth in Estate of Mixon v. United States. 464

  F.2d 394, 398, 402 (5th Cir. 1972). These factors were developed by courts to distinguish

  between debt and equity, and for the specific purpose of going “beyond the form and into

  the substance of the particular transaction” for “resolving debt-equity controversies.” Tex.

  Farm Bureau v. United States, 725 F.2d 307, 308 (5th Cir. 1984). Thus, even if the

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  substance over form doctrine could be applied here, controlling law would require

  application of the Estate of Mixon factors to determine whether the production payment is,

  in substance, debt or equity.

         50.    Even if the economic substance doctrine were to apply, the production

  payment should still be respected. The evidence shows that both prongs of the doctrine are

  satisfied.

         51.    In applying the economic substance doctrine, the Court should “look at the

  transaction as a whole to determine the economic substance,” as isolating only one part of

  a transaction “does not tell the whole story.” Salty Brine I, 761 F.3d at 495. That frame of

  analysis best advances the purpose of the doctrine, which is to distinguish legitimate

  transactions with permissible tax planning components from transactions that serve no non-

  tax purpose at all. See Shell Petroleum, Inc. v. United States, 2008 WL 2714252, at *32,

  *34-35 (S.D. Tex. 2008). This is because “the tax laws affect the shape of nearly every

  business transaction.” Frank Lyon Co. v. United States, 435 U.S. 561, 580 (1978). But

  focusing solely on a tax-motivated component of a transaction without regard to the

  broader context would lose sight of legitimate business objectives that are often pursued

  through lawful, tax efficient means.

         52.    Shell Petroleum is instructive. There, the court reasoned that there was no

  basis for “dissecting” or “‘slicing and dicing’ . . . an integrated transaction solely because

  the Government aggressively chooses to challenge only an isolated component of the

  overall transaction.” 2008 WL 2714252, at *35. In applying the doctrine, the court

  analyzed the transaction as a whole (the creation of a special purpose entity to which a host

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  of different properties were transferred) rather than solely the component of the transaction

  that the government challenged (the transfer of a subset of specific, non-producing

  properties to the special purpose entity). Id. at *37.

         53.    That same reasoning applies here. The “transaction as a whole” is the

  ARDPSA, not one provision of the agreement in isolation. Salty Brine I, 761 F.3d at 495.

  As in Shell Petroleum, the production payment was indisputably part and parcel of a larger

  “bundle of provisions” in the ARDPSA that were designed to ensure the continued

  commercial success and growth of the Al Khaleej Gas partnership. Indeed, multiple

  witnesses testified about the “very extensive” negotiations regarding the second phase of

  the project, which spanned at least three years.

         54.    The evidence shows that the ARDPSA had real economic substance. The

  expansion of the partnership involved “extensive” economic changes. Qatar contributed

  significant additional volumes of minerals, including from a new reservoir that could yield

  higher-value products. ExxonMobil contributed money to construct new facilities. Total

  production capacity more than doubled. The parties agreed to a new minimum price for

  sales gas and a “take-or-pay” provision that provided additional demand certainty. In total,

  expected cash distributions from the partnership approximately tripled.         Thus, “real

  dollars” changed hands and the transaction impacted the parties’ “net economic positions.”

         55.    Under the subjective prong, the evidence shows that the ARDPSA had a

  genuine business purpose: expanding production capacity to satisfy growing domestic

  demand for power. Discussions about a second phase of the project began even before the

  first phase was online, and well before the concept of a production payment or tax planning

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  was ever raised. As a result, the expansion of the partnership through the ARDPSA was

  not “engineered . . . solely for tax purposes,” Shell Petroleum, 2008 WL 2714252, at *38,

  and it satisfies the second prong of the economic substance doctrine in the event that

  doctrine were to apply (which it does not).

         56.    Even if the Court were to apply the economic substance doctrine and analyze

  the production payment in isolation — which is an inquiry that is not supported by legal

  authority — the doctrine would still be satisfied. The evidence demonstrates that the

  production payment had real economic substance in its own right and changed the

  economic position of both parties. Among other things, the evidence shows that the

  production payment was different in kind from the Residual Profit Share because it is, in

  substance, debt. It therefore altered the parties’ “legal relations,” which is an impact on

  “non-tax business interests” for purposes of the economic substance doctrine. Shell

  Petroleum, 2008 WL 2714252, at *32. The fact that the production payment could be

  separately transferred creates additional economic value, as testified to by fact and expert

  witnesses. Moreover, the production payment created additional upside for the State of

  Qatar and downside for ExxonMobil. That additional value created through the production

  payment is nearly double the Bonus Payments that the parties included as part of their

  commercial terms, showing that the production payment was commercially significant in

  the context of the overall transaction. And because the production payment proceeds were

  used to finance the acquisition of additional mineral rights from the State of Qatar, the

  production payment impacted the parties’ economics by “creating a reasonable possibility

  of profit,” which also satisfies the objective prong of the doctrine. Id. Defendant’s

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  accounting expert acknowledged at trial that she was not asked to, and did not, analyze or

  opine on whether the production payment had an economic impact on the parties.

         57.    In addition, there is no dispute that there was a genuine, non-tax business

  motivation for including the production payment in the ARDPSA: it was included to help

  make the second phase of the Al Khaleej Gas partnership, a significant commercial deal

  involving billions of dollars in mineral rights, new infrastructure, and revenue,

  economically viable.

         58.    For these reasons, even if the production payment were analyzed in isolation,

  it too satisfies both prongs of the economic substance doctrine, and there is no basis under

  governing law to disregard the interest expense deductions that result.

                                         CONCLUSION

         Any findings of fact that are more properly considered to be conclusions of law, or

  any conclusions of law that are more properly considered to be findings of fact, are also

  adopted by the Court as such.

         ExxonMobil has established that it was lawfully entitled to deduct interest expense

  for production payments made to the State of Qatar. The parties shall meet and confer

  regarding the computations of the amount of the tax refund and statutory interest due to

  ExxonMobil for tax years 2010 and 2011 and submit a joint letter to the Court with the

  parties’ proposed position or positions on the issue within forty-five (45) days from the

  date of this decision.

         Additionally, ExxonMobil shall within twenty-one (21) days of these findings and

  conclusions file a motion to seal any identified portion it believes should remain under seal,

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  to which the government may respond in the usual course. The Court will then file, not

  under seal, the balance of this Order.



         Signed October 30, 2024.




                                                        ___________________________
                                                               David C. Godbey
                                                        Chief United States District Judge




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